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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                    (at Lexington)

     UNITED STATES OF AMERICA,                  )
                                                )
           Plaintiff,                           )          Criminal Action No. 5: 19-091-DCR
                                                )
     V.                                         )
                                                )
     DEVONTAE MELVIN COOLEY,                    )            MEMORANDUM OPINION
                                                )                AND ORDER
           Defendant.                           )

                                  ****   ****       ****     ****

          Defendant Devontae Cooley is currently serving a 37-month term of imprisonment for

 a violation of 21 U.S.C. § 846, conspiracy to distribute 40 grams or more of a mixture or

 substance containing a detectable amount of fentanyl. [Record No. 35] He has recently

 submitted a letter which will be construed as a renewed motion for a sentence reduction

 pursuant to 18 U.S.C. § 3582(c).1 The Court previously denied a compassionate-release

 motion and motion for reconsideration. [Record Nos. 39, 43] In his current request, Cooley

 again argues that his medical conditions are “extraordinary and compelling reasons” that

 justify a sentence reduction because of the ongoing COVID-19 pandemic. Because he has still

 not demonstrated extraordinary and compelling reasons justifying release, his motion will

 again be denied.

          Section 3582(c)(1)(A) allows a sentencing court to reduce a sentence previously

 imposed if “three substantive requirements” are satisfied. United States v. Ruffin, 98 F.3d



 1
        Citations to Cooley’s letter, which will be filed in the record contemporaneously with
 this Order, are styled as: [Letter, p. 1].
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 1000, 1004 (6th Cir. 2020).2 These include whether (1) “‘extraordinary and compelling

 reasons’ warrant a reduction”; (2) “the reduction is consistent with the applicable policy

 statements issued by the Sentencing Commission”; and (3) “the [18 U.S.C.] § 3553(a) factors,

 to the extent they apply, support the reduction.”     United States v. Brummett, No. 20-5626,

 2020 WL 5525871 (6th Cir. Aug. 19, 2020). As a general matter, a Court “may deny

 compassionate-release motions when any of the three prerequisites listed in § 3582(c)(1)(A)

 is lacking . . . .” United States v. Elias, No. 20-3654, --- F.3d ----, 2021 WL 50169 (slip op. at

 4) (6th Cir. Jan. 6, 2021).

        Cooley argues that “the old policy statement [is] no longer applicable to compassionate

 release requests filed by inmates today.” [Letter, p. 3] However, while the policy statement

 definitions are no longer binding in the present situation, United States v. Jones, 980 F.3d

 1098, 1109 (6th Cir. 2020), a Court may still utilize the policy statement and definitions if it

 determines that they are useful in resolving a matter. And they are useful here. Accordingly,

 the Court reviews Cooley’s motion “within the framework provided by the application notes

 to Section 1B1.13 of the United States Sentencing Guidelines.” United States v. Abney, 2020

 WL 7497380, at *2 (E.D. Ky. Dec. 21, 2020). As relevant here, they state:

        (A) Medical Condition of the Defendant.—

                (i) The defendant is suffering from a terminal illness (i.e., a serious and
                advanced illness with an end of life trajectory). A specific prognosis of

 2
         A prisoner may file a motion for a sentence reduction “after he has ‘fully exhausted all
 administrative rights to appeal a failure of the Bureau of Prisons [“BOP”] to bring a motion on
 the [prisoner]’s behalf’ or after ‘the lapse of 30 days from the receipt of such a request by the
 warden of the [prisoner]’s facility, whichever is earlier.” United States v. Alam, 960 F.3d 831,
 832 (6th Cir. 2020) (alterations in original) (quoting 18 U.S.C. § 3582(c)(1)(A)). Cooley has
 not provided evidence that he has satisfied this burden. However, because the government has
 not yet invoked this mandatory claims-processing rule, the Court will proceed to address his
 motion on the merits.
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                 life expectancy (i.e., a probability of death within a specific time period)
                 is not required. Examples include metastatic solid-tumor cancer,
                 amyotrophic lateral sclerosis (ALS), end-stage organ disease, and
                 advanced dementia.
                 (ii) The defendant is—
                         (I) suffering from a serious physical or medical condition,
                         (II) suffering from a serious functional or cognitive impairment,
                         or
                         (III) experiencing deteriorating physical or mental health because
                         of the aging process,
                 that substantially diminishes the ability of the defendant to provide self-
                 care within the environment of a correctional facility and from which he
                 or she is not expected to recover.

 U.S.S.G. § 1B1.13 n.1(A). For a medical condition to fall meet this definition, it must be “so

 serious that it cannot be adequately addressed in BOP custody.” Abney, 2020 WL 7497380,

 at *2.

          Cooley alleges that five factors that place him at risk for serious illness should he

 contract COVID-19: severe asthma, obesity, hypertension, past cigarette use, and his race.

 [Letter, pp. 1–2] His medical records confirm that he suffers from asthma, obesity, and

 hypertension. [Letter, pp. 17–30] And based on those records, he suffers from some

 conditions that may place him at an increased risk for severe illness from COVID-19.3 Cooley

 argues that the risk associated with these conditions, and not the conditions themselves, justify

 release.

          Despite the above claims, Cooley has not demonstrated that his current conditions are

 unmanageable or that they have been inadequately treated in BOP custody. Additionally, he

 does not contend that he currently suffers from an unmanageable case of COVID-19. He


 3
       People with Certain Medical Conditions, CENTERS FOR DISEASE CONTROL AND
 PREVENTION, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-
 with-medical-conditions.html (updated December 29, 2020).

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 instead asks the Court to conclude that risk of a potential, future illness is “extraordinary and

 compelling” on its own.4 While his concerns are legitimate, this general risk is insufficient to

 justify early release from prison. Accordingly, the undersigned concludes that Cooley has not

 demonstrated “extraordinary and compelling reasons” justifying release.

        But even if Cooley could demonstrate “extraordinary and compelling reasons,” his

 original sentence is supported by the relevant sentencing factors in 18 U.S.C. § 3553(a). Those

 factors include “the nature of the offense, the characteristics of the defendant, and numerous

 penological objectives.” Jones, 980 F.3d at 1114. Cooley makes two main arguments

 regarding the sentencing factors: (1) that prison lockdowns and the risk of COVID-19 have

 increased the punitive nature of his period of imprisonment; and (2) that his family and friends

 will support his planned efforts to receive employment. [Letter, pp. 7–11] However, these

 arguments do not outweigh the factors supporting his original sentence. Cooley pleaded guilty

 to conspiracy involving 128.752 grams of a mixture containing fentanyl and heroin.

 Additionally, his criminal history includes multiple instances of weapons possession. After

 considering these and the other Section 3553(a) factors, a sentence at the bottom end of the

 guideline range was imposed. Cooley’s sentence continues to reflect the seriousness of his

 offense, the need to deter future potential criminal conduct, and the need to protect the public

 from future criminal activity. Accordingly, as was the case in his first compassionate-release

 motion, Cooley has not met the requirements for relief under Section 3582(c).



 4
        The BOP is presently working with the Center for Disease Control and Prevention and
 a public-private partnership established by the federal government, known as Operation Warp
 Speed, to ensure that the BOP remains prepared to administer the COVID-19 to inmates as
 soon as it is available. The Court has been advised that, as of January 4, 2021, doses of vaccine
 have been delivered to 48 BOP facilities in various regions of the country.
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        Being sufficiently advised, it is hereby

        ORDERED as follows:

        1.     Defendant Devontae Cooley’s motion for a sentence reduction is DENIED.

        2.     The Clerk of Court is DIRECTED to file a copy of Cooley’s correspondence

 in the record of this proceeding.

        Dated: January 12, 2021.




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